Case 5:20-cv-01556-PD Document 28 Filed 10/27/21 Page 1 of 1 Page ID #:1393


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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    ERIN C. L.,                                        Case No. 5:20-cv-01556-PD
12                          Plaintiff,                   JUDGMENT
13              v.
14    KILOLO KIJAKAZI, Acting
15    Commissioner of Social Security,

16                          Defendant.

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            It is the judgment of this Court that the decision of the
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     Administrative Law Judge is VACATED, and the matter is REMANDED to
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     the Social Security Administration on an open record for further
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     proceedings consistent with the Court’s Order.1
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22   DATED: October 27, 2021
23                                               HON. PATRICIA DONAHUE
                                                 UNITED STATES MAGISTRATE JUDGE
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              Plaintiff’s name has been partially redacted in accordance with Federal Rule of Civil
26   Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and Case
     Management of the Judicial Conference of the United States. Pursuant to Rule 25(d) of the Federal
27   Rules of Civil Procedure, Kilolo Kijakazi, the current Acting Commissioner of the Social Security
     Administration, is hereby substituted in as the Defendant.
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